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                              EXHIBIT C
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        Citations to RideShare, Inc. Patents-in-Suit By Others
  Publication number Priority date   Publication date   Assignee        Title
  US10507760B2       2018-01-29      2019-12-17         Rock A. Ferrone Enhanced
                                                                        vehicle
                                                                        authentication
                                                                        system platform
                                                                        providing real
                                                                        time visual
                                                                        based unique
                                                                        taxi vehicle
                                                                        authentication
                                                                        for customers
                                                                        and drivers and
                                                                        methods of
                                                                        implementing
                                                                        the same
  US10825122B2        2019-03-20     2020-11-03         Beijing Didi    Configuration
                                                        Infinity        method and
                                                        Technology      system of
                                                        And             indication
                                                        Development     device for
                                                        Co., Ltd.       driver-passenger
                                                                        matching
  Family To Family
  Citations
  JP6382745B2         2015-02-23     2018-08-29         Ｌｉｎｅ株式           Ride-on support
                                                        会社               device and
                                                                         program to
                                                                         support ride-on
  CN106355892B *      2016-11-06     2019-09-20         天泽信息产业           A kind of
                                                                         acquisition
                                                        股份有限公司           system and its
                                                                         acquisition,
                                                                         processing
                                                                         method of
                                                                         vehicle and
                                                                         driver
                                                                         information
  US10355788B2 *      2017-01-06     2019-07-16         Uber             Method and
                                                        Technologies,    system for
                                                        Inc.             ultrasonic
                                                                         proximity
                                                                         service
  WO2018140059A1 2017-01-30          2018-08-02         Ford Global
  *                                                     Technologies,
                                                        Llc
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  CN110015233B      2019-03-20    2020-04-10     北京嘀嘀无限         Configuration
                                                                method and
                                                 科技发展有限         system of driver
                                                 公司             and passenger
                                                                matching
                                                                indicating
                                                                device
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                  Citations to Lyft ‘108 Patent By Others
  Publication number Priority date   Publication date Assignee        Title
  US10679312B2 *     2017-04-25      2020-06-09       Lyft Inc.       Dynamic
                                                                      autonomous
                                                                      vehicle
                                                                      servicing and
                                                                      management
  US10789579B2 *      2017-06-16     2020-09-29       Mastercard      Systems and
                                                      International   methods for use
                                                      Incorporated    in facilitating
                                                                      purchases
  US10423834B2 *      2017-08-31     2019-09-24       Uber            Augmented
                                                      Technologies,   reality assisted
                                                      Inc.            pickup
  US20190378055A1 2018-06-06         2019-12-12       Lyft, Inc.      Systems and
  *                                                                   methods for
                                                                      determining
                                                                      allocation of
                                                                      personal
                                                                      mobility
                                                                      vehicles
  CN110015233B *      2019-03-20     2020-04-10       北京嘀嘀无限          Configuration
                                                                      method and
                                                      科技发展有限          system of driver
                                                      公司              and passenger
                                                                      matching
                                                                      indicating
                                                                      device
